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UNTTED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

UNITED STATES OF AMERICA

VS. CRIMINAL NO. 4:23-CR-061-Y

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MARK ANTHONY KIRKLAND (02)

ORDER SETTING SCHEDULE FOR SENTENCING"

The schedule for sentencing the defendant in this case and
all necessary events and requirements prior to the defendant's
sentencing are set out below,

‘L. The probation officer shali conduct a presentence
investigation and prepare a presentence report.

2. Counsel for the defendant shall be present at the initial
interview between the defendant and the probation officer {with
recent familiarity with U.S.S.G. § 3E1.1, application note 1({a))
and, within seven days from the date this order is filed, scheduie
the interview with the probation officer assigned to prepare the
presentence report.

3, Counsel for United States of America, within seven days
of the defendant's conviction, shall deliver to the probation
officer a written report setting out with specificity:

a. all information possessed by the office of the
United States attorney for the Northern District of Texas
that is relevant to (i) the sentencing of the defendant or
(ii) the acceptability of the plea agreement, if any,
including, but not limited to:

{1} all criminal history of the defendant;

(2) all criminal conduct of the defendant (whether
or not charged) occurring at any time;

(3) all statements made by the defendant
fincluding transcripts that already have been made of
recorded statements) and ail other notes, memos, or

i This standard order was last revised in July 2020. There are two substantive
revisions: a new paragraph 6 requiring the mandatory review of standard
conditions of release by defense counsel with counsel's client, and paragraph
7, previously paragraph 6, which was revised to make clear the defense counsel’s
obligation to promptly review the presentence report with counsel's client and
file any objections in writing.
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other writings pertaining to any statement made by the
defendant;

(4) all investigative reports pertaining to the
offense of conviction and to relevant conduct; and

b. if the defendant was convicted after triai, a
written summary of any evidence presented at trial not
cumulative of the information provided pursuant to 3.4a.,
above, and that is relevant to the sentencing of the defendant
including especially, but not limited to, evidence that the
defendant obstructed justice and evidence of relevant
conduct; and

c. in any case in which restitution can be ordered
under 18 U.S.C. § 3663 or 18 U.S.C. § 3663A as a result of
the defendant's criminal conduct, to the extent known to the
government, the full names of all identified victims of
defendant's criminal conduct for which restitution can be
ordered, the amount of loss subject to restitution for each
identified victim, each identified victim's complete address,
and each identified victim's telephone number;

provided, however, that all information provided to the probation
officer pursuant to this paragraph is confidential and for the
exclusive use of that office and this Court.

4, If, during the presentence report investigation, a
probation officer determines that Texas Juvenile Justice
Department (TJJD) records are needed, the Court orders the TJJD to
release these records to the probation officer assigned to prepare
the presentence report, acting in the performance of the officer's
official duties pursuant to FED, R. CRIM. P. 32. The specific
records that are to be released include documents pertaining to
the defendant's social history, court disposition records,
substance-abuse treatment records, psychologicai evaluations,
other mental-health treatment records, educational records,
general health records, adjustment-while-incarcerated records, and
release dates from the TJJO.

5. The probation officer shail electronically file the
presentence report with the clerk of Court and deliver a judge's
copy to chambers,? no later than August 16, 2023.

2 All deliveries to the Court, either by mail or hand-delivery are to be
madé to Michelle Moon, Judicial Assistant, Eidon B. Mahon United States
Courthouse, 501 West 10th Street, Room 502, Fort Worth, Texas 76102.

Judge's copies of all documents filed electronicaliy are required to be
delivered to chambers within 24-hours of their electronic filing and in
accordance with the judge-specific requirements for Judge Means.
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6. Tf, at the defendant’s sentencing hearing, the defendant
is ordered to be placed on supervised release upon being released
from the custody of the Federal Bureau of Prisons, the defendant
will be ordered to comply with the standard conditions recommended
by the Sentencing Commission at Sec. 5D1.3{c) of the United States
Sentencing Commission Guidelines Manual. Defendant's counsel shail
review those conditions with the defendant and include any
objection to them in his written objections to the presentence
report as required by paragraph 7, below.

7. Counsel for the parties shall file with the clerk of
Court any written objections to the presentence report in the form
illustrated in Exhibit A attached hereto and shall deliver a
judge's copy to chambers no later than August 30, 2023.

8. If a party has no objections to the presentence report,
the party shall file a written notice of no objections no later
than August 30, 2023.

9. A written response to the opposing party's objections
and clarifications to the presentence report shail be
electronically filed with the clerk of Court and a judge's copy
delivered to chambers no later than September 6, 2023.

10. =f written objections to the presentence report have
been timely filed, the probation officer shall electronically file
an addendum to the presentence report and deliver a judge's copy
to chambers no later than September 13, 2023.

11. Each party may electronically file, and deliver af
judge's copy to chambers, a sentencing memorandum no later than
September 13, 2023.

12. Any other item the parties wish the Court to consider in
connection with sentencing, including character letters and victim
statements, must be delivered to chambers no later than September
13, 2023.3 All character letters and victim statements written in
a foreign language must be translated into English prior to
submission to the Court. No such letters or statements will be
considered by the Court if not provided to the opposing party at
least seven days prior to the sentencing hearing.

13. Any motion for a sentence above or below the advisory
guideline range set out in the presentence report shail be
electronically filed with the clerk of Court and a copy of the
motion shall be delivered to chambers no later than September 20,

3 Character Letters and victim statements are not to be filed (manually
or electronically) with the clerk of Court.
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2023.4 Such a motion and any response thereto may be filed under
seal without being accompanied by a motion to seal provided that
the motion for the response thereto) contains in its title the

notation, “UNDER SEAL PURSUANT TO SCHEDULING ORDER DATED
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14. Any party served with a motion for a sentence above or
below the advisory guideline range shall electronically file a
response with the clerk of Court and a judge's copy shall be
delivered to chambers no later than September 27, 2023.

15. The probation officer shall deliver to chambers a
sentencing recommendation® no later than noon on October 3, 2023.

16. The sentencing hearing is set for 10:00 a.m. on October
10, 2023.

i7. Before a party files a motion to continue sentencing, he
must confer with counsel for the other party concerning what dates
he cannot be available for sentencing over the ensuing sixty-day
period. The party's motion for continuance must then set out those
dates. The motion must also inform the Court of how long the party
desires to postpone sentencing.

Further, a motion for continuance may be filed under seal
without leave of Court provided that it contains in its title the
notation, "UNDER SEAL PURSUANT TO SCHEDULING ORDER DATED

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18. The parties must be prepared at the sentencing hearing
to present evidence, arguments, and legal authorities relating to
any factual or legal issues that are raised by the presentence
report or any addendum thereto or any objection to elther,

19. All motions and responses to motions any party wishes
the Court to consider in connection with any sentencing matter
shall be electronically filed with the clerk and a judge's copy
delivered to chambers. If a party desires the sealing of any such
motion or response, the heading of the instrument must state that

4 Any party moving for a sentence above or below the advisory guideline
range must set out in detail the facts that support such motion, The party
must also clearly indicate whether the party is seeking an upward or downward
departure under Chapters Four or Five of the United States Sentencing Guidelines
or is seeking a sentence outside the guidelines range under 18 U.S.C. § 3553(a),
or both, Tf the party is seeking a sentence under subsection {a} of § 3553,
the party must identify the paragraphs and subparagraphs of subsection (a) that
the facts implicate in support of a sentence above or below the advisory
guideline range and demonstrate in detail how they do so,

5 Motions for a sentence above or below the advisory guideline range filed
under seal may be filed electronically pursuant to LCrR 55.3.
6 The recommendation is mot to be filed.
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the document is being filed “under seai" and, except as set cut in
numbered paragraph 11, above, be accompanied by a motion to seal.

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TERRAIR. MEANS

UNITED STATES DISTRICT JUDGE

SIGNED June 14, 2023.

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

UNITED STATES OF AMERICA

VS. 4;Q0-CR-O00-Y

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JOHN DOE (1)

OBJECTIONS TO PRESENTENCEK INVESTIGATION REPORT

TO THE HONORABLE TERRY R. MEANS, UNITED STATES DISTRICT JUDGE:

COMES NOW, JOHN DOE, defendant, by and through his attorney of
record Jane Roe, and hereby submits these written objections to the
presentence investigation report (PSR} dated July 30, 2020, as prepared
by U.S. probation officer, Don Smith, and shows as follows:

OBJECTION NO. 1:
Defendant objects to paragraph 10 on page 3 of the PSR because

OBJECTION NO. 2:
Defendant objects to paragraph 25 on page 7 of the PSR because

WHEREFORE, Defendant respectfully submits these written objections
to presentence investigation report and requests the Court to sustain
the objections and to grant such other and further relief as may be
warranted.

Respectfully submitted,

Jane Doe

State Bar No. 00000000
FIRM NAME

ADDRESS

TELEPHONE NUMBER
FACSIMILE NUMBER

Attorney for John Doe

CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the above and
feregoing Defendant's Written Objections to Presentence Investigation
Report have been served upon the Assistant U.S. attorney and U.S.
probation officer on this the day of —, 201g.

Jane Roe

Exhibit ‘A‘
